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 1                    UNITED STATES DISTRICT COURT
                       DISTRICT OF MASSACHUSETTS
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 4   SPARTA INSURANCE COMPANY,          )
                                        )
 5                       Plaintiff      ) Civil Action
                                        )
 6                                      ) No. 21-11205-FDS
     vs.                                )
 7                                      )
     PENNSYLVANIA GENERAL INSURANCE     )
 8   COMPANY,                           )
                        Defendant
 9

10
     BEFORE:   CHIEF JUDGE F. DENNIS SAYLOR, IV
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12
                       TELEPHONIC STATUS CONFERENCE
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15             John Joseph Moakley United States Courthouse
                             Courtroom No. 10
16                           1 Courthouse Way
                             Boston, MA 02210
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18
                              August 30, 2022
19                              3:20 p.m.

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23                    Valerie A. O'Hara, FCRR, RPR
                         Official Court Reporter
24             John Joseph Moakley United States Courthouse
                            1 Courthouse Way
25                           Boston, MA 02210
                        E-mail: vaohara@gmail.com
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 1   APPEARANCES VIA TELEPHONE:

 2   For The Plaintiff:

 3        Skadden, Arps, Slate, Meagher & Flom LLP,
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 5   For the Defendant:

 6        Boies Schiller Flexner LLP, by SAMUEL CHARLES KAPLAN,
     ESQ., 1401 New York Avenue NW, Washington, DC 20005;
 7
          Boies Schiller Flexner LLP, by MAXWELL PRITT,
 8   ESQ., ERIKA NYBORG-BURCH, ATTORNEY, and
     MARIAH JOELLE NOAH, ATTORNEY, 44 Montgomery Street,
 9   41st Floor, San Francisco, California 94104.

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        1                                PROCEEDINGS

        2             THE CLERK:    Court is now in session in the matter of

        3    Sparta Insurance Company vs. Pennsylvania General Insurance

        4    Company, Civil Action Number 21-11205.

        5             Participants are reminded that photographing,

        6    recording or rebroadcasting of this hearing is prohibited and

        7    may result in sanctions.

        8             Would counsel please identify themselves for the

        9    record, starting with the plaintiff.

03:20PM 10            MR. CARROLL:    Good afternoon, your Honor, for Sparta

       11    Insurance Company, James Carroll, and with me,

       12    Christopher Clark.

       13             THE COURT:    All right.    Good afternoon.

       14             MR. KAPLAN:     Good afternoon, your Honor, this is

       15    Sam Kaplan for the defendant, and with me today on the call are

       16    my colleagues, Maxwell Pritt, Erika Nyborg-Burch and

       17    Mariah Noah.

       18             THE COURT:    Good afternoon.    This is a telephone

       19    conference in this case.    As you know, I issued an order

03:21PM 20   denying the motion to dismiss.      There has been a motion for

       21    reconsideration filed.    I have read that, read the opposition

       22    and read the reply, and I'm going to cut to the chase.

       23             I'm going to deny that motion, that is, Docket

       24    Number 41, but having done that, and as I think you can perhaps

       25    tell from my opinion, there are a lot of uncertainties here as
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        1    to this case in its current posture, including I don't feel

        2    it's completely resolved, even the basic issue of standing and

        3    justiciability, and so I'm going to float an idea.   It's just

        4    an idea but an idea of moving forward from here, which is what

        5    if the defendant moved for summary judgment, plaintiff can

        6    respond as they see fit?

        7              Maybe there are disputed issues of material fact, it

        8    may be that we get a Rule 56(d) response saying they can't

        9    respond in full, but I feel that I would like to somehow frame

03:23PM 10   the issues on a little bit more complete record or factual

       11    basis.   I can't really do that on a motion to dismiss.   I can

       12    look at the contracts, but I can't look at what's underlying

       13    them, and either that process resolves the litigation or it may

       14    inform discovery or the path going forward, or it may inform

       15    phasing of discovery or any number of issues.

       16              I'm floating that as an idea.   That may not work for a

       17    lot of reasons.   I'm not trying to dictate anyone's litigation

       18    strategy, but the benefit of that is I get a much more complete

       19    record, I have a better sense of what is going on, for better,

03:23PM 20   for worse, which I don't feel that I do right now, and it might

       21    at the end of the day resolve these issues more quickly, or, if

       22    nothing else, narrow them.

       23              So let me toss that out.   In the alternative, of

       24    course, well, it's not even an alternative really, I'll just

       25    set this for a scheduling conference, set a timetable for
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        1    discovery and off we go, so let me stop talking.

        2               Mr. Kaplan, I'm putting you on the spot a little bit,

        3    but let me get a reaction from you as to all of that.

        4               MR. KAPLAN:   We appreciate the suggestion, your Honor.

        5    I think my only concern with the Court's proposal is that

        6    obviously our motion to dismiss was confined to issues of

        7    justiciability as well as maybe one or two issues on failure to

        8    state a claim that were based purely on the basis of contract.

        9               We certainly could file a motion for summary judgment

03:25PM 10   on those, on those issues, but my concern is normally when one

       11    files a motion for summary judgment, courts frown upon seriatim

       12    motions for summary judgment.

       13               THE COURT:    I'm not certainly inviting it, let's put

       14    it that way.   I just don't want to keep giving you endless

       15    bites at the same apple certainly.

       16               MR. KAPLAN:   Yes.

       17               THE COURT:    I'm thinking out loud here.

       18               MR. KAPLAN:   I guess.

       19               THE COURT:    Justiciability, for example, might be one

03:25PM 20   way to handle that, is this actually ripe for resolution, and,

       21    maybe, you know, assuming that it is, and we'll get to, you

       22    know, whatever the underlying issues are and go down that

       23    pathway.   I certainly don't want to just simply keep revisiting

       24    the same issues over and over again on a slightly better

       25    record.    I mean, that's not my hope at all.
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        1              As I'm sure you can imagine, I have a lot on my plate,

        2    and I don't like to keep repeating the same work, but I also

        3    think that your motion to dismiss and your motion for

        4    reconsideration both suggest that there are threshold issues

        5    here that either I'm not understanding that have been presented

        6    by plaintiffs or whatever, and I express no opinion on that.

        7    You may be completely wrong, but I'd like to frame that so I

        8    could think about it more intelligently, which I'm not sure

        9    that I'm able to do on this record.    That's my thinking.

03:26PM 10             You don't need to commit to anything right now, but

       11    you also don't need necessarily to wait until the end of

       12    discovery, you know, six months or a year from now or whatever

       13    that is to file a motion for summary judgment.

       14              Let me hear Mr. Carroll's response here before we go

       15    any further.

       16              MR. CARROLL:    Thank you, your Honor.   I believe your

       17    Honor's instincts for assessing out an early resolution of the

       18    case are sensible.     The plaintiff would like to file an early

       19    motion.   We had it viewed as a motion for judgment on the

03:27PM 20   pleadings.

       21              THE COURT:    Okay.

       22              MR. CARROLL:    Because we believe these contracts are

       23    susceptible of declaratory ruling now.    We don't believe

       24    there's ambiguity or facts that will get in the way, and

       25    whether that was -- we could do that either by motion for
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        1    judgment on the pleadings, which we'd be prepared to do on the

        2    9th of September, or by cross-motions for summary judgment.

        3    Either way is fine by us.        Paramount to us is trying to see if

        4    we can get to an early resolution.

        5               THE COURT:    Okay.    Mr. Kaplan, do you want to respond

        6    to that?

        7               MR. KAPLAN:   Yes, your Honor.     The reason I was

        8    bringing up seriatim motions for summary judgment, and I

        9    believe this is clear to the Court based on what you said, but

03:28PM 10   I just wanted to make sure.       If the justiciability issues were

       11    resolved against us, our view is that there are numerous

       12    material facts that would require a lot of discovery, and I can

       13    go into more detail on that, and so in terms of clarification,

       14    I just would want to make sure that, as I said, your Honor's

       15    inviting the motion for summary judgment on the justiciability

       16    issues, but it would be understood that if that were adversely

       17    resolved, we could still file a motion for summary judgment at

       18    the end of discovery on any merits issues.

       19               THE COURT:    I'm not sure "inviting" is the right word,

03:28PM 20   it's more I'm tossing the idea off the top of my head.       Here's

       21    what I'm going to do.     Why don't you all give some further

       22    thought to this, you know, consulting with your client and

       23    thinking about what you think the best way forward is, and we

       24    could have cross-motions for about judgments on the pleadings

       25    or for summary judgment, justiciability, or whatever.
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        1             I'm going to set it for a scheduling conference, and

        2    that will double as a status conference, which, of course, may

        3    affect how discovery unfolds, obviously, but let's have that

        4    conference, and why don't both of you be prepared to talk about

        5    a possible way of going forward.

        6             Again, you don't need to tip your hand on litigation

        7    strategy, you don't need to commit to anything particularly,

        8    but if you want to at least propose a pathway, I will listen to

        9    it, you know, and, obviously, the idea here would be without

03:30PM 10   prejudice, for example, if there were motions for summary

       11    judgment on justiciability, you lost, the case goes forward,

       12    you can move for summary judgment, you know, based on the

       13    evidentiary record as a whole at a later time.

       14             Why don't we do that about three or four weeks out.

       15    Let's set a date, we'll call it the scheduling conference.       I

       16    do want you to meet and confer and talk about a discovery

       17    schedule and ESI and all that kind of stuff so we're not going

       18    to be delayed on that.

       19             But you might propose even alternative discovery

03:31PM 20   schedules depending on how these issues are resolved, for

       21    example, if there is a motion for judgment on the pleadings, it

       22    might not make sense to go full force into discovery right now,

       23    but it also might make sense.

       24             Matt, why don't you give me a date, why don't we make

       25    that around September 20th, 24th, somewhere in there.
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        1             THE CLERK:     The 21st at three.

        2             THE COURT:     September 21st at three by telephone,

        3    scheduling conference?

        4             MR. KAPLAN:     Your Honor, this is Sam Kaplan, I have a

        5    pretrial conference some time that week that the court hasn't

        6    scheduled, but even if -- I imagine that even if it happens to

        7    be scheduled for the time that the court sets, one of my

        8    colleagues can handle the call.

        9             THE COURT:     You can call Mr. McKillop.    This is a

03:32PM 10   telephone conference.    This is not a jury trial.    We can find a

       11    time and date that works for everybody.      Mr. Carroll, how about

       12    you?

       13             MR. CARROLL:    We'd find a way to make that work, your

       14    Honor, but I do have a question, if I may.

       15             THE COURT:     Go ahead.

       16             MR. CARROLL:    We have spoken about -- at least we

       17    certainly conferred with respect to the motion that it is our

       18    desire to make it an immediate motion.       Do I understand your

       19    Honor to be saying that we should not do that in the interim

03:32PM 20   until the 21st?

       21             THE COURT:     No, if you want to file that by

       22    September 9th, you can file it.     I may take into account all

       23    the potential things that are going on in terms of, you know,

       24    deciding when your opponent needs to respond to that.      You

       25    know, I would say that timetable is also -- will be unresolved
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        1    until I kind of know what's going on generally, but I'm not

        2    going to prohibit you from filing such a motion.

        3             MR. KAPLAN:    Similarly, your Honor, this is -- oh, I

        4    apologize, go ahead, Mr. Carroll.

        5             MR. CARROLL:   I was solely going to say thank you,

        6    that was clear.   Please proceed.

        7             MR. KAPLAN:    Thank you.   I just wanted to make sure,

        8    your Honor, in the same vein as my friend, we were planning on

        9    proceeding to serve discovery requests today, and we had sent

03:33PM 10   out some public requests already to a couple of government

       11    agencies that are relevant because we do want to, if discovery

       12    is going to proceed, obviously, we want -- we have talked about

       13    a discovery schedule with the plaintiff, and we obviously want

       14    to proceed expeditiously to resolve it to the extent we can.

       15    We both had different ideas in how long that should take, but,

       16    in any event, the short question is is it the same answer

       17    should we hesitate to serve discovery requests?

       18             THE COURT:    No, no, I assume you FOIA requests under

       19    the --

03:34PM 20            MR. KAPLAN:    Exactly, yes.

       21             THE COURT:    That's fine, too.   I'm making no decision

       22    of any kind here, I'm floating ideas for a way to have a

       23    sensible resolution of what looked to me like some threshold

       24    type issues, maybe dispositive altogether but certainly

       25    threshold issues.   I'll tell you my prejudices.   Every time I
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        1    try to do something like phase discovery or do something

        2    creative, it comes back to bite me, but having said that, I

        3    would like to explore what those options are, and it seems to

        4    me that the traditional model is once the motion to dismiss is

        5    denied, you just go into full bore discovery and move for

        6    summary judgment at the end of it maybe the way this gets

        7    resolved, but I'd like to at least think about other options,

        8    okay?

        9                MR. KAPLAN:    Yes, understood, your Honor.

03:35PM 10               THE COURT:    I am ordering nothing and prohibiting you

       11    from doing nothing.

       12                MR. KAPLAN:    Understood.

       13                THE COURT:    All right.   We will reconvene in mid to

       14    late September, see where we are, see what motions are pending

       15    or threatened, as the case may be, listen to what your

       16    proposals are going forward, and I will try to set a timetable

       17    that I think makes sense under the circumstances, okay?

       18                MR. CARROLL:   Thank you very much, your Honor.

       19                MR. KAPLAN:    Thank you, your Honor.

03:35PM 20               THE COURT:    Anything else?   All right.   Thanks,

       21    everyone.

       22                (Whereupon, the hearing was adjourned at 3:35 p.m.)

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 1                        C E R T I F I C A T E

 2

 3   UNITED STATES DISTRICT COURT )

 4   DISTRICT OF MASSACHUSETTS ) ss.

 5   CITY OF BOSTON )

 6

 7             I do hereby certify that the foregoing transcript,

 8   Pages 1 through 12 inclusive, was recorded by me

 9   stenographically at the time and place aforesaid in Civil

10   Action No. 21-11205-FDS, SPARTA INSURANCE COMPANY vs.

11   PENNSYLVANIA GENERAL INSURANCE COMPANY and thereafter by me

12   reduced to typewriting and is a true and accurate record of the

13   proceedings.

14             Dated September 2, 2022.

15

16                           s/s Valerie A. O'Hara

17                           _________________________

18                            VALERIE A. O'HARA

19                            OFFICIAL COURT REPORTER

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